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                      ATTACHMENT TO VOLUNTARY PETITION

   1. Pending Bankruptcy Cases Filed by Affiliates of the Debtor

       Concurrently herewith, each of the affiliated entities listed below, including the Debtor

filing this petition (the “Debtors”), filed a petition in the United States Bankruptcy Court for the

District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United States Code,

11 U.S.C. §§ 101–1532.

                       1.      Hudson Solar Service, LLC

                       2.      Hudson Valley Clean Energy, Inc.

                       3.      iSun Corporate, LLC

                       4.      iSun Energy LLC

                       5.      iSun Industrial, LLC

                       6.      iSun Residential, Inc.

                       7.      iSun Utility, LLC

                       8.      iSun, Inc.

                       9.      Liberty Electric, Inc.

                       10.     Peck Electric Co.

                       11.     SolarCommunities, Inc.

                       12.     Sun CSA 36, LLC

       Contemporaneously with the filing of their voluntary petitions, the Debtors filed a motion

requesting that this Court jointly administer their chapter 11 cases for procedural purposes only.
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                          CERTIFICATE OF RESOLUTION
                     AUTHORIZING PREPARATION FOR FILING OF
                    VOLUNTARY PETITION FOR REORGANIZATION
                   UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

               At a special meeting of the Board of Directors (the “Board of Directors”) of
iSun, Inc., a Delaware corporation (the “Corporation”), duly constituted and held on May 22,
2024, the following resolutions were discussed and thereafter adopted by unanimous consent:

                WHEREAS, the Board of Directors of the Corporation has evaluated and
considered the financial condition, results of operations and projected cashflows of the
Corporation, the Corporation’s efforts to secure additional debt or equity financing, the results of
those efforts, the offer received by the Corporation to acquire the Corporation and its business
through a reorganization of the Corporation, options available to the Corporation and prospects
for maximizing the value of the Corporation and returns to the stakeholders of the Corporation
and information and recommendations of its executive officers of, and counsel to, the
Corporation concerning the financial condition of the Corporation; and

               NOW, THEREFORE, BE IT:

                RESOLVED, that in the judgment of the Board of Directors, it is in the best
interests of the Corporation, its creditors, stockholders and other interested parties, that a petition
for reorganization of the Corporation be filed under the provisions of Chapter 11 of Title 11 of
the United States Code (the “Bankruptcy Code”);

              RESOLVED, that the President (the “Authorized Officer”) is hereby authorized,
empowered and directed, on behalf of the Corporation, to take all necessary actions and make all
necessary preparations for the Corporation to commence a case under Chapter 11 of the
Bankruptcy Code (the “Chapter 11 Case”), and to commence the Chapter 11 Case, in the venue
that the Authorized Officer deems appropriate and at such time that the Authorized Officer
deems appropriate, in the exercise of his discretion and professional expertise;

                RESOLVED, that the Authorized Officer of the Corporation shall be and hereby
is authorized and directed to do and perform all such acts and things to be prepared to execute
and file all petitions, plans, pleadings, schedules, lists, statements, applications, documents,
certificates and other papers, and to take such other steps as may be deemed necessary or
desirable in order to conduct a case under Chapter 11 of the Bankruptcy Code and to effectuate a
reorganization of the Corporation under Chapter 11 as is deemed appropriate;

                RESOLVED, that the Corporation shall employ, subject to any requisite
bankruptcy court approval, the law firm of Gellert Seitz Busenkell and Brown, LLC as general
reorganization counsel to represent and assist the Corporation in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights and
obligations, including filing any pleadings; and in connection therewith, the Authorized Officer
is hereby authorized and directed to cause to be filed an appropriate application for authority to
retain the services of Gellert Seitz Busenkell & Brown, LLC;
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               RESOLVED, that the Corporation shall employ England & Company as
investment banker and advisor to advise the Corporation in carrying outs it duties; and in
connection therewith, the Authorized Officer is hereby authorized and directed to cause to be
filed an appropriate application for authority to retain the services of England & Company;

               RESOLVED, that the Corporation shall employ, subject to any requisite
bankruptcy court approval, such other professionals and persons as the Authorized Officer
determines are necessary in order to conduct the Chapter 11 Case and to operate the business
while subject to the jurisdiction of the Bankruptcy Court;

                RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Officer, the Authorized Officer and such other officers of the Corporation
as any Authorized Officer shall from time to time designate, and any employees or agents
(including counsel) designated by or directed by any such Authorized Officer, be authorized and
empowered to cause the Corporation to enter into, execute, deliver, certify, file and/or record,
and perform such agreements, instruments, motions, declarations, affidavits, applications for
approvals or ruling of governmental or regulatory authorities, certificates and other documents,
and to take such other actions as in the judgment of such officer shall be or become necessary,
proper and desirable to conduct the Chapter 11 Case and to effectuate a reorganization or
liquidation of the Corporation as is deemed appropriate; and

                RESOLVED, that any and all actions heretofore or hereafter taken by the officers
or directors of the Corporation in the name of and on behalf of the Corporation in furtherance of
any or all of the foregoing resolutions are hereby ratified and confirmed in their entirety.

               RESOLVED, that Rob Vanderbeek is hereby appointed as Chief Restructuring
Officer of the Corporation.

              RESOLVED, that the Authorized Officer is authorized to (i) obtain debtor in
possession financing and enter into any related agreements; and (ii) pursue the sale of the
Corporation’s assets subject to court approval under section 363 of the Bankruptcy Code.


               I, the undersigned, the president of iSun, Inc., do hereby certify that the foregoing
is a true, complete and accurate copy of the resolutions duly adopted by the Board of Directors of
said Corporation by unanimous consent; and I do further certify that these resolutions have not
been altered, amended, repealed or rescinded and are now in full force and effect.

               The undersigned further certifies that the Board of Directors had at the time of the
adoption of said resolutions full power and authority to adopt said resolutions, and that the Board
of Directors now has said power and authority.

               IN WITNESS WHEREOF, I have hereunto subscribed my name and affixed the
corporate seal of iSun Residential, Inc. this 22nd day of May 2024.
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                       By:
                       Name: Jeffrey Peck
                       Title: President
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B2030 (Form 2030) (12/15)
                                                       United States Bankruptcy Court
                                                                     District of Delaware
 In re       iSun, Inc., et al.                                                                               Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 95,856.00
             Prior to the filing of this statement I have received                                        $                 95,856.00
             Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

              Debtor              Other (specify):

3.    The source of compensation to be paid to me is:

              Debtor              Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
              reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
              522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.
         06/03/2024                                                           /s/ Michael Busenkell
     Date                                                                     Michael Busenkell
                                                                              Signature of Attorney
                                                                              Gellert Seitz Busenkell & Brown, LLC
                                                                              1201 N. Orange Street
                                                                              Suite 300
                                                                              Wilmington, DE 19801
                                                                              302-425-5812 Fax: 302-425-5814
                                                                              mbusenkell@gsbblaw.com
                                                                              Name of law firm
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    iSun, Inc., et al., 1                                         Case No. 24-________________

              Debtors.                                            (Joint Administration Requested)




                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT


             Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the debtors and debtors in possession in the above-captioned cases (the “Debtors”), to

the best of their knowledge, information, and belief, hereby state as follows:

             1. iSun Corporate, LLC, iSun Energy, LLC, iSun Industrial, LLC, iSun Residential, Inc.,

                and iSun Utility, LLC are wholly owned subsidiaries of iSun,, Inc.

             2. Liberty Electric, Inc., and Peck Electric Co., are wholly owned subsidiaries of iSun

                Industrial, LLC.

             3. SolarCommunities, Inc., is a wholly owned subsidiary of iSun Residential, Inc.

             4. Hudson Solar Service, LLC, Hudson Valley Clean Energy, Inc., and Sun CSA36, LLC,

                are wholly owned subsidiaries of SolarCommunities, Inc.




1
  The Debtors in these Chapter 11 cases, along with the last four (4) digits of their federal tax identification numbers,
are: (i) iSun, Inc. (“iSun”) (0172) (ii) Hudson Solar Service, LLC (“Hudson”) (1635); (iii) Hudson Valley Clean
Energy, Inc. (“Hudson Valley”) (8214); (iv) iSun Corporate, LLC (“iSun Corporate”) (4391); (v) iSun Energy, LLC
(“iSun Energy”) (1676); (vi) iSun Industrial, LLC (“iSun Industrial”) (4333); (vii) iSun Residential, Inc. (“iSun
Residential”) (3525); (viii) iSun Utility, LLC (“iSun Utility”) (4411) ; (ix) Liberty Electric, Inc. (“Liberty”) (8485);
(x) Peck Electric Co. (“Peck”) (5229); (xi) SolarCommunities , Inc. (“SolarCommunities”) (7316); and (xii) Sun CSA
36, LLC (“Sun CSA”) (7316); (collectively referred to as the “Debtors”). The Debtors’ mailing address is: 400 Avenue
D, Suite 10 Williston, Vermont 05495, with copies to Gellert Seitz Busenkell & Brown LLC, Attn: Michael Busenkell,
1201 N. Orange Street, Suite 300, Wilmington, DE 19801.
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    iSun, Inc., et al., 1                                         Case No. 24 - __________________

             Debtors.                                             (Joint Administration Requested)


             CONSOLIDATED LIST OF CREDITORS HOLDING THE 30 LARGEST
                               UNSECURED CLAIMS

         Set forth below is the list of creditors that hold, based upon information presently available
and belief, the thirty (30) largest unsecured claims (the “Top 30 List”) against iSun, Inc., and its
affiliated debtors and debtors in possession (collectively, the “Debtors”). This list has been
prepared based upon the books and records of the Debtors. The Top 30 List was prepared in
accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the
Debtors’ chapter 11 cases. The Top 30 List does not include: (1) persons who come within the
definition of an “insider” as set forth in 11 U.S.C. § 101(31); or (2) secured creditors, including
those creditors with a right to setoff under applicable law, unless the value of the collateral (or
amount entitled to be offset) is such that the unsecured deficiency places the creditor among the
holders of the thirty (30) largest unsecured claims. The information presented in the Top 30 List
shall not constitute an admission by, nor is it binding on, the Debtors. The information presented
herein, including, without limitation, (a) the failure of the Debtors to list any claim as contingent,
unliquidated, disputed, or subject to a setoff; or (b) the listing of any claim as unsecured neither
constitutes an admission by the Debtors that the secured lenders listed hold any deficiency claims,
nor constitutes a waiver of the Debtors’ rights to contest the validity, priority, nature,
characterization, and/or amount of any claim.




1
  The Debtors in these Chapter 11 cases, along with the last four (4) digits of their federal tax identification numbers,
are: (i) iSun, Inc. (“iSun”) (0172) (ii) Hudson Solar Service, LLC (“Hudson”) (1635); (iii) Hudson Valley Clean
Energy, Inc. (“Hudson Valley”) (8214); (iv) iSun Corporate, LLC (“iSun Corporate”) (4391); (v) iSun Energy, LLC
(“iSun Energy”) (1676); (vi) iSun Industrial, LLC (“iSun Industrial”) (4333); (vii) iSun Residential, Inc. (“iSun
Residential”) (3525); (viii) iSun Utility, LLC (“iSun Utility”) (4411) ; (ix) Liberty Electric, Inc. (“Liberty”) (8485);
(x) Peck Electric Co. (“Peck”) (5229); (xi) SolarCommunities , Inc. (“SolarCommunities”) (7316); and (xii) Sun CSA
36, LLC (“Sun CSA”) (7316); (collectively referred to as the “Debtors”). The Debtors’ mailing address is: 400 Avenue
D, Suite 10 Williston, Vermont 05495, with copies to Gellert Seitz Busenkell & Brown LLC, Attn: Michael Busenkell,
1201 N. Orange Street, Suite 300, Wilmington, DE 19801.
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 Fill in this information to identify the case:
 Debtor name iSun, Inc., et al.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                 Check if this is an

 Case number (if known):                                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders                                                               12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number and      Nature of claim       Indicate if claim is   Amount of claim
 complete mailing address, email address of creditor       (for example, trade      contingent,         If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        contact                         debts, bank loans,     unliquidated, or      claim is partially secured, fill in total claim amount and deduction for
                                                           professional               disputed          value of collateral or setoff to calculate unsecured claim.
                                                           services, and                                Total claim, if           Deduction for value Unsecured claim
                                                           government                                   partially secured         of collateral or
                                                           contracts)                                                             setoff
 Green Mountain      Nathan Laber          Trade Claim                           Disputed
 Electric (GMES)     natel@gmes.com                                                                                                                         $1,792,743.34
 356 Rathe Road      (802) 391-4902
 Colchester VT
 05446
 Tesla Energy        Brian Riccitelli      Trade Claim                           Disputed
 12832 S.            briccitelli@tesla.com                                                                                                                  $1,693,864.14
 Frontrunner Blvd    (908) 229-5600
 Draper, UT 84020
 APA Solar Racking Steven Henry            Trade Claim                           Disputed
 20-345 County       stevenh@apasolar.com                                                                                                                   $1,351,940.99
 Road X              419-863-1942
 PO Box 224
 Ridgeville Corners
 OH 43555
 Opsun Systems,      Serge                 Trade Claim                           Disputed
 Inc.                accounting@opsun.com                                                                                                                   $1,121,266.44
 979 Ave De          418-651-4040
 Borgogne, Local
 260
 Quebec ON G1W
 2L4
 Canada
 Polar Racking Inc – Jonathan Mizrachi     Trade Claim                           Contingent /
 Utility             jonathan.mizrachi@pol                                       Disputed                                                                     $769,355.20
 6889 Rexwood        arracking.com
 Road 5              (833) 801-5233
 Mississauga ON
 L4V 1R2
 Canada

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 Debtor    iSun, Inc., et al.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number and      Nature of claim       Indicate if claim is    Amount of claim
 complete mailing address, email address of creditor       (for example, trade      contingent,          If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        contact                         debts, bank loans,     unliquidated, or       claim is partially secured, fill in total claim amount and deduction for
                                                           professional               disputed           value of collateral or setoff to calculate unsecured claim.
                                                           services, and                                 Total claim, if           Deduction for value Unsecured claim
                                                           government                                    partially secured         of collateral or
                                                           contracts)                                                              setoff
 Sun Pull Bundled           Nick Eberly            Trade Claim                   Disputed
 Wire                       nick.eberly@sunpullwir                                                                                                             $650,886.47
 394 Hangar Road            e.com
 Rome NY 13441              419-467-4812
 Gamechange Solar           Olga Filippova         Trade Claim                   Disputed
 152 West 57th              Olga.Filippova@gamec                                                                                                               $586,747.00
 Street                     hangesolar.com
 44th Floor                 212-388-5180
 New York NY
 10019
 CED Greentech              Jeremy Demers        Trade Claim                     Disputed
 East 0120/0933             jeremy.demers@ced.co                                                                                                               $566,705.29
 CED Green Tech             m
 PO Box 780846              207-368-4367
 Philadelphia PA
 19178-0846
 Solar Operation            Corey Koenig          Trade Claim                    Disputed
 Solutions                  corey@phoenixsolarusa
 PO BOX 1342                .com                                                                                                                                $487,837.50
 Brownfield TX              802-279-3417
 79316
 Light Chain Solar          Bill Pastors           Trade Claim                   Disputed                                                                      $468,318.00
 LLC                        bpastors@lightchainsol
 2694 Sunset Lake           ar.com
 Dr                         812-592-4311
 Cape Coral FL
 33909
 IBEW Local 300             Lindsey Brown                  Union Dues            Disputed
 3 Gregory Drive            lab@ibewlocal300.org                                                                                                               $406,568.91
 South Burlington           (802) 864-5864
 VT 05403
 T Ford Company,            Bill Peach                     Trade Claim           Disputed
 Inc                        Bill@tford.com                                                                                                                     $367,800.00
 124 Tenney Street
 Georgetown MA
 01833
 Chint Power                Olivia Want           Trade Claim                    Disputed
 Systems America            ar@chintpowersystems.                                                                                                              $354,362.00
 Co. (CPS)                  com
 2188 Pomona Blvd           (626) 330-7007
 Pomona CA 91768


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 Debtor    iSun, Inc., et al.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number and      Nature of claim       Indicate if claim is    Amount of claim
 complete mailing address, email address of creditor       (for example, trade      contingent,          If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        contact                         debts, bank loans,     unliquidated, or       claim is partially secured, fill in total claim amount and deduction for
                                                           professional               disputed           value of collateral or setoff to calculate unsecured claim.
                                                           services, and                                 Total claim, if           Deduction for value Unsecured claim
                                                           government                                    partially secured         of collateral or
                                                           contracts)                                                              setoff
 Merritt & Merritt          Ken Merritt             Professional                 Disputed
 60 Lake Street             kmerritt@merritt-merrit Services                                                                                                   $352,523.00
 2nd Floor                  t.com
 PO Box 5839                802-658-7830
 Burlington VT
 05402
 QT Corporation             Jimmy Sauls           Trade Claim                    Disputed
 2700 Forest Hills          jamessauls@qt-corpora                                                                                                              $323,345.78
 Loop SW                    tion.com
 Wilson NC 27839            (252) 399-7600
 American Express                                 Credit Card                    Disputed
 PO Box 1270                                                                                                                                                   $317,110.00
 Newark NJ
 07101-1270
 First Insurance            Maureen Ivy              Insurance                   Disputed
 Funding                    firstinsite@firstinsuran Provider                                                                                                  $282,094.92
 PO Box 7000                cefunding.com
 Carol Stream IL            800-837-3707
 60197-7000
 AssuredPartners            Camille Perkins       Insurance                      Disputed
 PO Box 6203                Camille.Perkins@assur                                                                                                              $255,019.33
 Brattleboro VT             edpartners.com
 05302-6203                 (800) 742-2765
 Sunbelt Solomon            Tyler Kemp            Equipment                      Disputed
 1922 S. MLK Jr.            Tyler.Kemp@sunbeltso                                                                                                               $238,977.00
 Drive                      lomon.com
 Temple TX 76504            785-655-2629
 Zane Construction,         Malaina Sylvestre     Trade Claim                    Disputed
 LLC                        malaina@zaneconstruct                                                                                                              $222,225.87
 17 Pond Meadow             iongroup.com
 Road                       203-980-1621
 Killingworth CT
 06419
 Marcum – Corp              Alan Markowitz      Professional                     Disputed
 PO Box                     Alan.Markowitz@marc Services                                                                                                       $221,987.97
 95000-2288                 umllp.com
 Philadelphia PA            212-485-5590
 19195-0001
 Soderberg                  Bradley Doody                  Trade Claim           Disputed
 Construction               bradley@sodcon.com                                                                                                                 $194,060.00
 460 York Street            207-498-6300
 Caribou ME 04736

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 Debtor    iSun, Inc., et al.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number and      Nature of claim       Indicate if claim is    Amount of claim
 complete mailing address, email address of creditor       (for example, trade      contingent,          If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        contact                         debts, bank loans,     unliquidated, or       claim is partially secured, fill in total claim amount and deduction for
                                                           professional               disputed           value of collateral or setoff to calculate unsecured claim.
                                                           services, and                                 Total claim, if           Deduction for value Unsecured claim
                                                           government                                    partially secured         of collateral or
                                                           contracts)                                                              setoff
 NECA/IBEW            fmcp@nebf.com        Union Dues                            Disputed
 Family Medical      301-556-4328                                                                                                                              $162,481.80
 Care Plan
 Dept. At 40305
 Atlanta GA
 31192-0305
 Cummins Sales and Peggy McCormick         Trade Claim                           Disputed
 Service             peggy.mccormick@cu                                                                                                                        $133,492.00
 50 Braintree Hill   mmins.com
 Office Park         317-662-2231
 Suite 200
 Braintree MA
 02184
 One Source           603-645-5969         Trade Claim                           Disputed
 Security                                                                                                                                                      $128,295.76
 One Source
 Security
 674 Daniel Webster
 Highway
 Merrimack NH
 03054
 R&R Pipeline        Ryne Niemiec          Trade Claim                           Disputed
 Construction and    ryne.niemiec@randrpip                                                                                                                     $125,252.80
 Repair, Inc         eline.com
 1909 HWY 255        724-531-7716
 Central City AR
 72941-7100
 I.C. Reed & Sons, Jodi D. Naughton        Trade Claim                           Disputed
 Inc.                jodi@icreed.com                                                                                                                           $124,970.00
 6 Evans Drive, P.O. 603-895-2731
 Box 968
 Raymond NH
 03077
 Ridgeback Solar     Ryan Mallgrave        Trade Claim                           Disputed
 518 North Holy      rmallgrave@ridgebacks                                                                                                                     $123,500.00
 Street              olar.com
 Philadelphia PA     (215) 669-9245
 19104
 IBEW Local 567      Denis Lehouillier     Union Dues                            Disputed
 238 Goddard Road DLehouillier@ibew567                                                                                                                         $119,630.44
 Lewiston ME         .com
 04240               207-786-9770 Ext. 102

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 Debtor    iSun, Inc., et al.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number and      Nature of claim       Indicate if claim is    Amount of claim
 complete mailing address, email address of creditor       (for example, trade      contingent,          If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        contact                         debts, bank loans,     unliquidated, or       claim is partially secured, fill in total claim amount and deduction for
                                                           professional               disputed           value of collateral or setoff to calculate unsecured claim.
                                                           services, and                                 Total claim, if           Deduction for value Unsecured claim
                                                           government                                    partially secured         of collateral or
                                                           contracts)                                                              setoff
 Terrasmart                 Jane Rottmueller       Trade Claim                   Disputed
 PO Box 715005              jmueller@terrasmart.co                                                                                                             $118,947.30
 Cincinatti OH              m
 45271                      513-242-2051




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